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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

 

 

 

 

United States of America )
V. )
) Case No.
ERIC BALES etem- |7 34
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of November 15, 2018 in the county of Orange in the
Middle District of Florida , the defendant(s) violated:
Code Section Offense Description
18 USC 2252A(a)(2) Receipt and distribution of child pornography

This criminal complaint is based on these facts:

See attached Affidavit.

@% Continued on the attached sheet.

° ze. 's signature

Ryan Eggland, Special Agent

 

Printed name and title

Sworn to before me and signed in my presence.

Date: M = /S- 20/8

City and state: Orlando, Florida Thomas B. Smith, U.S. Magistrate Judge

Printed name and title

   

 

Judge ’s signature
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STATE OF FLORIDA CASE NO, 6:18-mj- [7 3 3
COUNTY OF ORANGE
AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Ryan Eggland, after being duly sworn, depose and state:

1. I am a Special Agent (SA) employed with the Department of
Homeland Security (DHS), Homeland Security Investigations (HSI) and have
been so employed since October 2009. I am currently assigned to the Orlando,
Florida office of HSI, and my duties include the enforcement of federal
criminal statutes including but not limited to Titles 8, 18, 19, 21, and 31 of the
United States Code. I am a law enforcement officer of the United States
within the meaning of 19 U.S.C. § 1401(i), and am empowered to investigate
and make arrests for violations of United States criminal laws within the
meaning of 18 U.S.C. § 2510(7).

2. My formal education includes a Bachelor’s degree in Business
Administration and a Master’s degree in Business Administration from the
University of North Florida. Through numerous advanced law enforcement-
training programs, I have received specialized training in the investigations of
sex crimes, child exploitation, child pornography, and computer crimes. I
have participated in training courses for the investigation and enforcement of

child pornography laws in which computers are used as the means for
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receiving, transmitting, and storing child pornography. I have been involved in
investigations involving child pornography, the creation of child pornography,
and online solicitation/enticement of minors. I have participated in
investigations of persons suspected of violating federal child pornography
laws, including violations of 18 U.S.C. §§ 2251, 2252 and 2252A.

Additionally, I have authored and participated in the execution of search
warrants involving searches and seizures of computers, computer equipment,
software, and electronically stored information.

3. This affidavit is submitted in support of a criminal complaint. As
set forth in more detail below, I have probable cause to believe that ERIC
BALES knowingly possessed and received or distributed child pornography, in
interstate commerce, in violation of 18 U.S.C. §§ 2252A(a)(2).

4, I make this affidavit from personal knowledge based on my
participation in this investigation, information from other criminal
investigators, information from law enforcement officers, information from
agency reports, and the review of documents provided to me by these
witnesses and law enforcement officers. Because this affidavit is being
submitted for the limited purpose of a criminal complaint, I have not set forth

each and every fact learned during the course of this investigation.
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STATUTORY AUTHORITY

5. Title 18, United States Code, Section 2252A, prohibits a person
from knowingly transporting, shipping, receiving, distributing, reproducing for
distribution, or possessing any child pornography, as defined in 18 U.S.C. §
2256(8), using any means or facility of interstate commerce, or in or affecting
interstate commerce.

DETAILS OF THE INVESTIGATION

6. KIK Interactive Inc. ' has developed a system to detect if their
service may have been used to commit a child pornography and/or child
abuse offense, specifically the offense of transmitting child pornography or
child abuse contrary to subsection 163.1[d] of the Criminal Code of Canada.
In Canada, there is currently legislation in effect that requires all electronic
service providers to report child pornography offenses when they are

discovered. KIK, in partnership with law enforcement, uses hash-matching

 

1 KIK Interactive Inc. is a Waterloo based technology company. KIK is a
social networking website developed in order to allow individuals with similar
interests to connect online and in person. In order to use the website a user
requests a username and uses that username to communicate with other users.
KIK Messenger is a mobile cellular telephone application that allows users to
utilize KIK on their mobile devices. Once the application is downloaded and
installed, the user must register the account by using their username and an
email address. After completing the registration process, users can
communicate online via text and/or chat group and send/receive pictures and
videos.

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technologies (similar to SHA-1 and ED2K described above) to moderate
images being transferred between KIK users and groups. The hash values of
known child pornography files being used by KIK have been provided by the
Royal Canadian Mounted Police (RCMP) Canadian Police Center for Missing
and Exploited Children (CPCMEC). This hash database is based on images
that have been manually reviewed for content and determined as meeting the
criteria of what is known as ‘Interpol Baseline Hash’ or IBH. Interpol has set
out strict criteria to identify certain media as ‘the worst of the worst’ with
regards to child exploitation. Inclusion on this list requires a depiction of a
real child (no anime, CGI, etc.), estimated to be under the age of 13, clearly
engaged in an explicit sexual act, or the camera focus must be on the anus or
sexual organs. Files meeting these strict criteria would qualify as child
pornography as defined above.

7. In August 2018, HSI Orlando received information from the
RCMP through the HSI Ottawa Attaché regarding several KIK accounts
suspected of being involved in child exploitation in some way. Included in this
list was the username justwaves02. KIK observed that justwaves02 was active
in a chat group with the group name, “In-cest group Canada come join.” The
report generated by KIK regarding this chat group shows five users sharing
files without any dialogue. Justwaves02 sent a video file (KIK Content ID:

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27dd27e3-0e24-4a14-8cdc-bf4595c0bfa4) on August 18, 2018, at 17:05:47
UTC through IP address 72.239.178.20. Justwaves02 sent a video file (KIK
Content ID: 20953349-2b5a-477f-a26b-e8973bbc5 1fb) on August 18, 2018, at
17:07:25 UTC through IP address 72.239.178.20. Justwaves02 sent a video
file (KIK Content ID: 1b8723a1-80a5-4950-96e2-e7204bc4d949) on August
18, 2018, at 18:06:30 UTC through IP address 72.239.178.20. Justwaves02
sent a video file (KIK Content ID: 5bd7ceed-7ad6-49cc-97cb-8d7ac345b9d2)
on August 18, 2018, at 21:41:14 UTC through IP address 72.239.178.20.
Justwaves02 sent a video file (KIK Content ID: f4988068-b1e9-4a87-a8a9-
ab4aef88838c) on August 18, 2018, at 21:41:36 UTC with no IP address
recorded by KIK. Justwaves02 sent a video file (KIK Content ID: 6c92a881-
9996-4c7b-8cb 1-487440900283) on August 18, 2018, at 21:41:42 UTC through
IP address 72.239.178.20. KIK provided a log of the child pornography
observed to be sent by justwaves02, user information maintained by KIK on
justwaves02, and KIK connection logs of justwaves02.

8. I reviewed the videos posted by justwaves02 in the “In-cest group
Canada come join!” chat group.

a. KIK Content ID 27dd27e3-0e24-4a14-8cdc-bf4595cObfa4 is a
Iminute 57second color video with sound that depicts a

prepubescent female child approximately 3-5 years old

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performing oral sex on an erect adult male penis. While the child
stimulates the adult male’s penis with her hand, the child asks the
adult male (who she identifies as “dad”) if he is going to bring his
“friend.” The adult male replies that his friend will see “it”
(referring to the video he is recording) because he will send it to
him.

b. KIK Content ID 20953349-2b5a-477f-a26b-e897 3bbc51fb is a
23second color video with sound that depicts a prepubescent
female child approximately 6-10 years old whose vagina is being
penetrated by an adult male penis from behind. The video zooms
in on the child’s vagina as white fluid consistent with male
ejaculate leaks out of the child’s vagina. The adult male instructs
the child in a language unknown to me.

c. KIK Content ID 1b8723a1-80a5-4950-96e2-e7204bc4d949 is a
33second color video with sound that depicts an adult male
aggressively having sexual intercourse from behind a
prepubescent female child approximately 5-11 years old. The
child exclaims “That hurts! No!,” but the adult male continues to

completion.
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9.

d. KIK Content ID 5bd7ceed-7ad6-49cc-97cb-8d7ac345b9d2 is a

Iminute 58second color video with sound that depicts an adult
male having vaginal intercourse with a prepubescent female child
approximately 7-11 years old while the child lays naked on her

back on a couch. They are speaking a language unknown to me.

. KIK Content ID £4988068-b1e9-4a87-a8a9-ab4aef88838c is a

14second color video with sound of an adult male having vaginal
intercourse with a prepubescent female child approximately 6-11
years old while the child lays naked on her back on the bed. The

child appears distressed by her facial expression.

. KIK Content ID 6c92a88 1-9996-4c7b-8cb 1-487440900283 is a

Iminute 9second color video without sound of an adult male
having vaginal intercourse with a prepubescent female child
approximately 6-10 years old while the child lays on her back
naked from the waist down. The video zooms in on the child’s
vagina while the child’s hands rub a liquid consistent with adult
male ejaculate around her vaginal area.

The following subscriber details were provided by KIK for the

user justwaves02:
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First Name: Just

Last Name: Blah

Username: justwaves02

Date of Birth: XX-XX-1998?

Device Type: iphone

Registration: July 18, 2018 at 5:32 (UTC)
IP Address 72.239.178.20

10. There were a number of IP addresses included in the logs
received from KIK for user justwaves02. However, on various dates from July
18, 2018 through August 20, 2018, justwaves02 was connected through IP
address 72.239.178.20 (associated with Spectrum), 71.47.4.249 (associated
with Spectrum), and other IP addresses associated with Sprint PCS.

11. The RCMP and/or HSI Ottawa Attaché also forwarded the
investigative materials to me, which included the videos sent by KIK user
justwaves02, mentioned previously. I have viewed the videos, bearing KIK
Content IDs 27dd27e3-0e24-4a14-8cdce-bf4595c0bfa4, 20953349-2b5a-477f-
a26b-e8973bbc5 1 fb, 1b8723a1-80a5-4950-96e2-e7204bc4d949, Sbd7ceed-7ad6-
A9cc-97cb-8d7ac345b9d2, £4988068-b1e9-4a87-a8a9-ab4aef88838c, and

6€92a88 1-9996-4c7b-8cb1-487440900283, and confirmed that they are child

 

2 This birthdate is different from the actual birthdates of Eric Bales or J.B.
listed in paragraph 13.
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pornography as described above. Justwaves02 sent these videos between
August 18, 2018 17:05:47 UTC and 21:41:42 UTC.

12. According to records I obtained from Spectrum, the subscriber
information for IP address 72.239.178.20 on August 18, 2018 between
17:05:47 UTC and 21:41:42 UTC (the times the video files were sent by
justwaves02 from IP address 72.239.178.20) was as follows:

Name: A.G.

Billing and Service Address: xxxx Puritan Avenue
Winter Park, FL 32792

Home Phone: 407-694-7519

Service Phone: 321-972-2123

13. On October 23, 2018, I conducted a search of the Florida
Department of Motor Vehicles (DMV) Driver and Vehicle Information
Database (DAVID) for the address xxxx Puritan Avenue, Winter Park, FL
32792. Asa result, I learned that Florida driver license #B***-***-**-110-0
was issued to Eric William BALES (DOB: March xx, 19xx) on October 27,
2017. The address listed for Eric BALES is xxxx Puritan Avenue, Winter
Park, FL 32792. Eric BALES has registered a 2011 black GM sport utility
vehicle. J.B. has registered a 2016 white Piaggio motorcycle.

14. Surveillance was conducted at the Premises on various dates in

October and November 2018. A black GM sport utility vehicle was observed

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parked in the driveway of the residence. In addition, I have conducted a
search for unprotected WIFI signals in the vicinity of the Premises. All WIFI
signals detected were password protected.

15. Various records checks were conducted regarding Eric BALES,
the suspected occupant of the Premises. It was learned that Eric BALES was
a suspect in an undercover chat operation conducted by Marion County
Sheriff’s Office in 2009. BALES allegedly made inappropriate
advances/suggestions to an undercover agent posing as a 14 year old girl.
BALES was later arrested in 2014 by the Oviedo Police Department for Lewd
and Lascivious Behavior on a victim between 12 and 15 years old after he
instructed a 14 year old girl to perform oral sex on him and attempted to have
sexual intercourse with her. BALES pled guilty to Willful Child Abuse, and
served two years out of a three year sentence. No sex offender registration
was ordered.

16. On November 13, 2018, the Honorable Magistrate Judge
Thomas B. Smith authorized the issuance of a warrant for BALES’ residence.
On November 15, 2018, agents executed the search warrant.

17. On November 15, 2018 at approximately 8:00 a.m. Eastern Time,
HSI Special Agents Ken McClenahan, Joe Grey, and myself knocked on the
door of xxxx Puritan Avenue, Winter Park, FL 32792 and spoke with Eric

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BALES. I introduced myself as a Special Agent with Homeland Security
Investigations and part of a child exploitation task force. I explained that
internet activity emanating from Eric BALES’ residence was involved with
child pornography, and the agents needed to determine if there were any
children in the residence or if the files were merely accessed from and
distributed back to the internet.

18. Myself, SA Grey, and SA McClenahan interviewed Eric BALES.
Initially, BALES claimed that his cell phone was left at his aunt’s home.
However, BALES later admitted that he hid his laptop under the bed and
probably threw his phone in his closet while the agents were knocking on the
front door. I explained Miranda Warning rights to BALES, utilizing ICE
Form 73-025 (09/09). I made sure BALES understood his rights before asking
him to sign the form, which he did. BALES also signed a consent to search
form for his iPhone 8 cellphone that he initially claimed was at his aunt’s
house. The iPhone 8 was in his closet, as he had previously indicated.

19. As the conversation progressed, BALES admitted to using the
KIK Messenger application on his cell phone. BALES admitted that he traded
child pornography in chat groups on KIK using justwaves02. BALES was
shown screen captured images of the six videos mentioned above uploaded by
justwaves02. BALES identified a screen capture image of KIK Content ID

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5bd7ceed-7ad6-49cc-97cb-8d7ac345b9d2 as a video that he uploaded online
via the KIK messenger application. BALES stated that he uploaded this video
around August of 2018. BALES also identified a screen capture image of
KIK Content ID 27dd27e3-0e24-4a14-8cdc-bf4595c0bfa4 as a video that he
uploaded online via the KIK messenger application. BALES estimated that he
uploaded these child pornography videos to KIK on or about August of this
year (2018) and that he has seen and distributed hundreds of child

pornography files. As is described in paragraph 11, BALES uploaded those
videos on August 18, 2018.

20. BALES admitted to using several other applications on his cell
phone and computer to trade and store child pornography and to chat with
children under the age of 18. BALES said that he was posing as a 16 year old
boy on KIK Messenger earlier in the day. He was chatting with a girl that he
believed to be 16 years old living in South Florida. BALES directed Special
Agent McClenahan to the chat session and to the password protected vault
application on the phone where he stored the child pornography photos and
videos that she sent him at his request. Special Agent McClenahan also noted
that BALES was a member of several chat groups that specify ages from 12 to
16, teen, or incorporate some other youth reference. BALES admitted to
chatting with children he knew to be under the age of 18 for the purpose of

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obtaining child pornography and to distributing images of child pornography
via the KIK application in order to receive additional child pornography in
return. BALES further admitted that he distributed child pornography as
recently as this morning (November 15, 2018) to a male subject over KIK
Messenger that was seeking advice on how to meet underage girls online.

21. Special Agent McClenahan performed a forensic preview of
BALES’ iPhone 8 that BALES’ identified as his phone. Special Agent
McClenahan confirmed that child pornography was present on the phone, but
a full forensic analysis would be necessary to determine the actual volume of
identifiable child pornography files.

22. During the interview Special Agent Grey asked BALES if he
swore that everything he told agents was the truth. BALES raised his right
hand and swore that he had told the truth. BALES also agreed that agents
had not coerced him into making any statements, and that he had made the
statements voluntarily.

CONCLUSION

23. Based on the forgoing, I have probable cause to believe that Eric
BALES is involved in receipt and distribution of sexually explicit images of
minors and child pornography in interstate commerce, in violation of 18

US.C. §§ 2252(a)(2).

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Affiant further sayeth naught.

   

yan Eggland, Special Agent
Homeland Security Investigations

Sworn (O32 and subscribed before me
this a? day € Nove “>

A

THOMAS B. /
United States Magistrate Judge

 

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